        Case 1:08-cr-00224-LJO-DLB Document 207 Filed 04/24/09 Page 1 of 4


 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   MARK E. CULLERS
     LAUREL J. MONTOYA
 3   Assistant U.S. Attorneys
     Federal Courthouse
 4   2500 Tulare St., Suite 4401
     Fresno, California 93721
 5   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )      Case No. 1:08-CR-224 OWW
                               )
12                  Plaintiff, )      STIPULATION TO CONTINUE MOTIONS DUE
          v.                   )      DATES AND MOTIONS HEARING AND
13                             )      ORDER
                               )
14   ROBERT C. HOLLOWAY, et al.)      DATE:    June 17, 2009
                               )      TIME:    12:00 pm
15                  Defendants.)      COURTROOM: Honorable Oliver W. Wanger
     __________________________)
16
17
18        IT IS HEREBY STIPULATED by and between the parties hereto and
19   through their attorneys of record that the motions due dates be
20   continued as follows: Government’s responses will be due on May 13,
21   2009, Defendant Responses will be due on May 27, 2009 and the new
22   motions hearing is continued to June 17, 2009 at 12:00 p.m.             The
23   extension is requested because the Government is preparing for a
24   trial starting on April 28, 2009.
25        All parties herein, through their respective counsel have been
26   contacted regarding the requested continuance and concur with this
27   request.
28

                                           1
        Case 1:08-cr-00224-LJO-DLB Document 207 Filed 04/24/09 Page 2 of 4


 1        That the parties agree that the resulting period of delay
 2   occurring between May 26, 2009, and the date for hearing the
 3   motions, shall continue to be excluded for speedy trial purposes
 4   pursuant to 18 U.S.C. § 3161 (h)(1)(F).
 5        IT IS SO STIPULATED:
 6
     Dated: April 24, 2009                  LAWRENCE G. BROWN
 7                                          Acting United States Attorney
 8                                          /s/ Mark E. Cullers
                                       By: MARK E. CULLERS
 9                                         Assistant U.S. Attorney
10   Dated: April 24, 2009                  LAWRENCE G. BROWN
                                            Acting United States Attorney
11
                                            /s/ Laurel J. Montoya
12                                     By: LAUREL J. MONTOYA
                                           Assistant U.S. Attorney
13
14   Dated: April 24, 2009                   /s/ John Paul Balazs
                                            JOHN PAUL BALAZS
15                                          Attorney for Defendant
                                            GARY L. ERMOIAN
16
17
     Dated: April 24, 2009                   /s/ Anthony P. Capozzi
18                                          ANTHONY P. CAPOZZI
                                            Attorney for Defendant
19                                          JOSEPH P. TYLER
20
     Dated: April 24, 2009                   /s/ Carl M. Faller
21                                          CARL M. FALLER
                                            Attorney for Defendant
22                                          STEVEN J. JOHNSON
23
     Dated: April 24, 2009                   /s/ Robert Lee Forkner
24                                          ROBERT LEE FORKNER
                                            Attorney for Defendant
25                                          DAVID A. SWANSON
26
     Dated: April 24, 2009                   /s/ Robert Lee Forkner
27                                          ROBERT LEE FORKNER
                                            Attorney for Defendant
28                                          ANTHONY D. FANTACONE

                                           2
        Case 1:08-cr-00224-LJO-DLB Document 207 Filed 04/24/09 Page 3 of 4


 1   Dated: April 24, 2009                   /s/ Jai Manhar Gohel
                                            JAI MANHAR GOHEL
 2                                          Attorney for Defendant
                                            RAY M. HEFFINGTON
 3
 4   Dated: April 24, 2009                   /s/ Albie B. Jachimowicz
                                            ALBIE B. JACHIMOWICZ
 5                                          Attorney for Defendant
                                            REYNALDO W. SOTELO
 6
 7
     Dated: April 24, 2009                   /s/ Eric Kersten
 8                                          ERIC KERSTEN
                                            Attorney for Defendant
 9                                          ALFREDO F. RINCON
10
11   Dated: April 24, 2009                   /s/ Richard B. Mazer
                                            RICHARD B. MAZER
12                                          Attorney for Defendant
                                            BRENT F. HOLLOWAY
13
14   Dated: April 24, 2009                   /s/ Michael Joseph McGinnis
                                            MICHAEL JOSEPH McGINNIS
15                                          Attorney for Defendant
                                            MICHAEL J. OROZCO
16
17
     Dated: April 24, 2009                   /s/ Roger Keith Vehrs
18                                          RORGER KEITH VEHRS
                                            Co-Counsel for Defendant
19                                          ROBERT C. HOLLOWAY
20
     Dated: April 24, 2009                   /s/ William Osterhoudt
21                                          WILLIAM OSTERHOUDT
                                            Co-Counsel for Defendant
22                                          ROBERT C. HOLLOWAY
23
24   Dated: April 24, 2009                   /s/ Richard P. Pointer
                                            RICHARD P. POINTER
25                                          Attorney for Defendant
                                            REYNALDO W. SOTELO
26
27
28

                                           3
         Case 1:08-cr-00224-LJO-DLB Document 207 Filed 04/24/09 Page 4 of 4


 1   LAWRENCE G. BROWN
     Acting United States Attorney
 2   MARK E. CULLERS
     LAUREL J. MONTOYA
 3   Assistant U.S. Attorneys
     Federal Courthouse
 4   2500 Tulare St., Suite 4401
     Fresno, California 93721
 5   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                             EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA, )         Case No. 1:08-CR-224W
                               )
12                  Plaintiff, )         ORDER RE: STIPULATION TO CONTINUE
          v.                   )         MOTION DUE DATES AND MOTIONS HEARING
13                             )
                               )
14   ROBERT C. HOLLOWAY, et al.)         DATE:    June 17, 2009
                               )         TIME:    12:00 pm
15                  Defendants.)         COURTROOM: Honorable Oliver W. Wanger
     __________________________)
16
17         Upon the stipulation of the parties and good cause appearing
18   therefore,
19         IT IS HEREBY ORDERED that the Government’s responses will be due
20   on May 13, 2009, Defendant Responses will be due on May 27, 2009 and
21   the new motions hearing        be continued to June 17, 2009 at 12:00 p.m.
22                                       ________________________________
           IT IS SO ORDERED.
23
     Dated: April 24, 2009                   /s/ Oliver W. Wanger
24   emm0d6                             UNITED STATES DISTRICT JUDGE
25
26
27
28

                                             4
